
652 S.E.2d 262 (2007)
In re Eula ENGLISH, Foreclosure of Deed of Trust Dated January 20, 1989, Recorded in Book 3715 Page 1307, in the Guilford County Registry.
No. 250P07.
Supreme Court of North Carolina.
October 11, 2007.
Jacqueline Acey, pro se.
Carl Wright, Guardian ad Litem, High Point, for Heirs of Eula English.
Christopher C. Finan, High Point, for Household Realty Corp.

ORDER
Upon consideration of the petition filed by Petitioner (Jacqueline Acey) on the 30th day of May 2007 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 11th day of October 2007."
